Case 2:03-cv-02155-.]PI\/|-STA Document 110 Filed 07/07/05 Page 1 of 2 Page|D 106

Fll.ED BY D.C.
IN THE UNITED sTATEs DISTRICT cOURT
FoR THE wEsTERN DISTRICT OF TENNESSEE 05`Hn_-1 PH 3:h9
wEsTERN DIVISION

 

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RICKY D. ADAMS, WDOFM&&MHW

Plainciff,
v. No. 03-2155 Ml/An

CITY OF MEMPHIS,

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Defendant.

 

ORDER OF REFERENCE

 

Before the Court is Defendant’s Motion for Order Compelling
Discovery Responses From Plaintiff and/or for Sanctions for
Violating Order and Memorandum in Support Thereof, filed July 5,

2005.

This motion is referred to the United States Magistrate
Judge for determination. Any requests for reconsideration of the
Magistrate Judge's order shall be made within ten (10) days of
the entry of the order, setting forth particularly those portions

of the order objected to and the reasons for the objections.

IT IS SO ORDERED THIS rr DAY OF July, 2005.

QM‘GM

J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 110 in
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Honorable J on McCalla
US DISTRICT COURT

